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     Attorney for AKBAR BHAMANI
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 9                                 UNITED STATES DISTRICT COURT
10                          FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12    UNITED STATES OF AMERICA,                         Case No. CR 10-0327 MCE (KJN)

13                            Plaintiff,                STIPULATION AND] ORDER
                                                        EXTENDING DEFENDANT AKBAR
14              vs.                                     BHAMANI’S AND DEFENDANT
                                                        FEROZA BHAMANI’S TIME TO
15    AKBAR BHAMANI, ET AL.,                            SECURE APPEARANCE BOND

16                            Defendants.

17
18
                                              STIPULATION
19
20          Defendant Akbar Bhamani, by and through his counsel, Edward Swanson, defendant

21   Feroza Bhamani, by and through her counsel, Matthew Bockmon, and the United States, by and

22   through Assistant United States Attorney R. Steven Lapham, hereby stipulate and agree as

23   follows:

24          1)        Akbar Bhamani and Feroza Bhamani made their initial appearances before this

25   Court on August 13, 2010. At that appearance, the government moved for the detention of both

26   Akbar and Feroza Bhamani.

27          2)        At the August 13 appearance the government also informed the Court that the

28   defense and the government had reached an agreement regarding the custody status of the
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 1   defendants. Each defendant would be released on a $100,000 unsecured appearance bond co-
 2   signed by the defendants’s friend, Mr. Ashraf “Mike” Ali. This release was conditional on Mr.
 3   Ali’s posting of $100,000 worth of property to secure the bond by Friday, August, 27, 2010.
 4   The Court ordered the release of the defendants pursuant to this agreement.
 5           3)      The parties previously stipulated that, rather than posting the property owned by
 6   Mr. Ali, the defendants would use property owned by Ms. Bhamani’s brother, Amiruddin
 7   Sewani, and his wife, Nasreen Sewani, to secure the appearance bond. This property is located
 8   in New York state.
 9           4)      The parties previously stipulated to extend the deadline for posting this property
10   to September 17, 2010.
11           5)      Defendants have been working diligently to obtain the documents necessary to
12   secure the bond. Defendants have procured an appraisal of the property that will be used to
13   secure the bond. Defendants have also obtained a copy of the title report for the property. Both
14   of these documents have been provided to the government.
15           6)      Counsel for Mr. Bhamani has spoken with AUSA Lapham about the need for
16   additional time to complete the posting of the property. The government has no objection to
17   extending the time to post the property.
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     Stipulation Regarding Bond
     U.S. v. Bhamani, et al., CR 10-0327 MCE (KJN)    2
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 1           7)      The parties agree that the defendants have until September 24, 2010 to post the
 2   property necessary to secure the bond for Akbar and Feroza Bhamani.
 3
 4           IT IS SO STIPULATED.
 5
     Dated: September 17, 2010                                   /s/ Edward W. Swanson
 6                                                               EDWARD W. SWANSON
                                                                 Attorney for AKBAR BHAMANI
 7
     Dated: September 17, 2010                                   /s/ Matthew Bockmon
 8                                                               MATTHEW BOCKMON
                                                                 Attorney for FEROZA BHAMANI
 9
     Dated: September 17, 2010                                   /s/ R. Steven Lapham
10                                                               R. STEVEN LAPHAM
                                                                 Assistant United States Attorney
11
12
13
14                                                   ORDER
15           PURSUANT TO STIPULATION, IT IS SO ORDERED.
16   Dated: September 17, 2010.
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     Stipulation Regarding Bond
     U.S. v. Bhamani, et al., CR 10-0327 MCE (KJN)     3
